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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

  ROSY GIRON DE REYES; JOSE
  DAGOBERTO REYES; FELIX ALEXIS
  BOLANOS; RUTH RIVAS; YOVANA
  JALDIN SOLIS; ESTEBAN RUBEN MOYA
  YRAPURA; ROSA ELENA AMAYA; and
  HERBERT DAVID SARAVIA CRUZ,
                                                      Civil Action No. I:16cv00563-TSE-TCB
                 Plaintijfs,

          vs.



  WAPLES MOBILE HOME PARK LIMITED
  PARTNERSHIP; WAPLES PROJECT
  LIMITED PARTNERSHIP; and A.J,
  DWOSKIN «& ASSOCL\TES, INC.,

                 Defendants.


                                  ORDER GRANTING PLAINTIFFS' MOTION
                               TO FILE DOCUMENTS UNDER SEAL

         This matter comes before the Court under Local Civil Rule 5 and on the Motion of Plaintiffs


  Rosy Giron De Reyes, Jose Dagoberto Reyes, Felix Alexis Bolanos, Ruth Rivas, Yovana Jaldin

  Solis, Esteban Ruben Moya Yrapura, Rosa Elena Amaya, and Herbert David Saravia Cruz

  ("Plaintiffs") to file under seal Exhibits 1, 5-6, 12-31, 33-34, 36-38, 41, 43, 46, 49, and 51 to

  Plaintiffs' Cross Motion for Summary Judgment and Opposition to Defendants' Motion for

  Summary Judgment. Before this Court may seal documents, it must: "(1) provide public notice of

  the request to seal and allow interested parties a reasonable opportunity to object, (2) consider less

  drastic alternatives to sealing the documents, and (3) provide specific reasons and factual findings

  supporting its decision to seal the documents and for rejecting the alternatives." Ashcraft v.

  Conoco, Inc., 218 F.3d 282, 288 (4th Cir. 2000) (internal citations omitted).
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         In compliance with Local Rule 5 and Ashcraft, the Court has provided public notice of this

  motion by posting an appropriate Notice on the public docket board:

         "This document serves as notice to the public that Plaintiffs, by counsel, have moved the

  Court to seal from public disclosure Exhibits 1,5-6,12-31, 33-34, 36-38,41,43,46,49, and 51

  to Plaintiffs' Cross Motion for Summary Judgment and Opposition to Defendants' Motion for

  Summary Judgment, A brief description of the content of these documents is as follows:

             •   Ex. 1: Confidential Waples Mobile Home Park tenant file review spreadsheet.

             •   Ex. 5: Confidential violation letter from Defendants to Felix Bolanos.


             •   Ex. 6: Confidential violation letter from Defendants to Herbert Saravia Cruz.


             •   Ex. 12: Resident Screening Report for Herbert Saravia Cruz.

             •   Ex. 13: Resident Screening Report for Jose Reyes.

             •   Ex. 14: Resident Screening Report for Esteban Moya.

             •   Ex. 15: CoreLogic credit reports for Herbert Saravia Cruz, Jose Reyes, Esteban

                 Moya, and Felix Bolanos containing Social Security numbers and sensitive

                 financial information.


            •    Ex. 16: Confidential excerpts from the deposition transcript of Felix Bolanos.

            •    Ex. 17: The "Application for Residency" of Herbert Saravia Cruz containing social

                 security numbers, and other confidential information, such as the name and birth

                 date of minors.


            •    Ex. 18: Confidential excerpts from deposition transcript of Herbert Saravia Cruz.

            •    Ex. 19: Confidential excerpts from the deposition transcript of Esteban Moya.

            •    Ex. 20: Confidential excerpts from the deposition transcript of Jose Reyes.
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             •   Ex. 21: Excerpts from the deposition transcript of Defendants' designated 30(b)(6)

                 deponent.^

             •   Ex. 22: Confidential letter from Defendants to residents regarding increase in

                 month-to-month surcharge.

             •   Ex. 23: Confidential excerpts from the deposition transcript of Yovana Jaldin Solis.

             •   Ex. 24: Confidential excerpts from the deposition transcript of Rosa Amaya.

             •   Ex. 25: Excerpts from the the deposition transcript of Albert Dwoskin.

             •   Ex. 26: Excerpts from the deposition transcript of Josephine Giambanco.

             •   Ex. 27: Excerpts from the deposition transcript of Carolina Easton.

             •   Ex. 28: Copy of Herbert Saravia Cruz's Social Security card.

             •   Ex. 29: Copy of Jose Reyes's Social Security card.

             •   Ex. 30: Copy of Esteban Moya's Social Security card.

             •   Ex. 31: Confidential copy of Felix Bolanos's Social Security card.

             •   Ex. 33: Confidential renewal letter from Defendants to Jose Reyes.

             •   Ex. 34: Confidential eviction letter from Defendants to Jose Reyes.

             •   Ex. 36: Confidential 2015-2016 lease agreement between Defendants and Esteban

                 Moya.

             •   Ex. 37: Confidential 2015-2016 lease agreement between Defendants and Herbert

                 Saravia Cruz.


             •   Ex. 38: Confidential "21/30" notice from Defendants to Jose Reyes.

             •   Ex. 41: Confidential Waples Mobile Home Park tenant file deficiency list.



          • Although Defendants did not mark their deposition transcripts as confidential,
  Plaintiffs file these transcripts under seal out of an abundance of caution.
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             •   Ex. 43: Confidential Consumer Reports and CoreLogic SafeRent Training Manual.

             •   Ex. 46: Confidential 2014-2015 lease agreement between Defendants and Esteban

                 Moya.

             •   Ex. 49: Confidential letter from VOICE, an interfaith coalition, to Defendants.

             •   Ex. 51: Tenant ledger for Jose Reyes, which contains a phone number and sensitive

                 financial information."


         Based upon Plaintiffs' filings, the Court FINDS that less drastic alternatives to sealing the

  Proposed Sealed Documents are not feasible. Accordingly, the Court ORDERS that the Proposed

  Sealed Document shall be maintained under seal by the Clerk, until otherwise directed. The Clerk

  is REQUESTED to send a copy of this Order to all counsel of record.




                                                            IT IS SO ORDERED.




                                                                   leresa Carroll Buchanan
       Dated:                k                                   United States Magistrate Judge
                                                          United States District Court for the
                                                          Eastern District of Virginia
